Case 15-12002-elf   Doc 1   Filed 03/24/15 Entered 03/24/15 18:23:22   Desc Main
                             Document     Page 1 of 4
Case 15-12002-elf   Doc 1   Filed 03/24/15 Entered 03/24/15 18:23:22   Desc Main
                             Document     Page 2 of 4
Case 15-12002-elf   Doc 1   Filed 03/24/15 Entered 03/24/15 18:23:22   Desc Main
                             Document     Page 3 of 4
Case 15-12002-elf   Doc 1   Filed 03/24/15 Entered 03/24/15 18:23:22   Desc Main
                             Document     Page 4 of 4
